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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION
 IN RE:                                                                     CASE NO.: 18-50307-KKS
                                                                                       CHAPTER 7
 Roger Allen Mills,
        Debtor.
 _________________________________/

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

                               NOTICE OF OPPORTUNITY TO
                                OBJECT AND FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
 without further notice or hearing unless a party in interest files a response within twenty-one
 (21) days from the date set forth on the proof of service plus an additional three days for
 service if any party was served by U.S. Mail, or such other period as may be specified in Fed.
 R. Bankr. P. 9006(f).
        If you object to the relief requested in this paper, you must file an objection or response
 electronically with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite 100,
 Tallahassee, FL, 32301 and serve a copy on the movant’s attorney, Attorney for Secured
 Creditor, at Robertson, Anschutz & Schneid, PL, 6409 Congress Ave., Suite 100, Boca Raton,
 FL 33487 and any other appropriate person within the time allowed. If you file and serve a
 response within the time permitted, the Court will either schedule and notify you of a hearing
 or consider the response and grant or deny the relief requested without a hearing.
        If you do not file a response within the time permitted, the Court will consider that you
 do not oppose the relief requested in the paper, will proceed to consider the paper without
 further notice or hearing, and may grant the relief requested.


       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Roger Allen Mills, filed a voluntary petition pursuant to Chapter 13 of the

       United States Bankruptcy Code on October 8, 2018. An order converting the case to a

       case under Chapter 7 was entered on January 14, 2019.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and


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   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On January 27, 2015, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $250,000.00 to

   Whitney Bank DBA Hancock Bank, Mississippi Corporation. The Mortgage was

   recorded on February 3, 2015 in Book 3672 at Page 1997 of the Public Records of Bay

   County, Florida. The loan was transferred to Secured Creditor. True and accurate copies

   of documents establishing a perfected security interest and ability to enforce the terms of

   the Note are attached hereto as Composite Exhibit “A.” The documents include copies of

   the Note with any required indorsements, Recorded Mortgage, Assignment(s) of

   Mortgage, and any other applicable documentation supporting the right to seek a lift of

   the automatic stay and foreclose, if necessary.

5. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,

   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

6. The mortgage provides Secured Creditor a lien on the real property located at 4021

   Osprey Pt Southport, Florida 32409, in Bay County, and legally described as stated in the

   mortgage attached in Composite Exhibit “A.”

7. The terms of the aforementioned Note and Mortgage have been in default, and remain in


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   default, since April 1, 2017. See Secured Creditor’s statement in regard to indebtedness

   and default, attached hereto and incorporated herein as Exhibit “B.” A copy of the loan’s

   payment history is attached hereto as Exhibit “C.”

8. The appraised value of the property is $209,170.00. See Exhibit “D” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

9. Based upon the Debtor(s)’ schedules, the property is not claimed as exempt. The Trustee

   has not abandoned the property.

10. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

11. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

12. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.


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   13. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

       or protect the collateral; therefore, Secured Creditor requests that the Court waive the

       14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   15. A Proposed Order accompanies this Motion. See Exhibit “E” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: April 18, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Nathalie Rodriguez_______________
                                             Nathalie Rodriguez, Esquire
                                             Florida Bar Number: 125114
                                             Email: nrodriguez@rasflaw.com

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 18, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Roger Allen Mills
4021 Osprey Point
Panama City, FL 32409

Teresa M. Dorr
Zalkin Revell, PLLC
2441 US Highway 98, Suite 109
Santa Rosa Beach, FL 32459

Mary W. Colon
P.O. Box 14596
Tallahassee, FL 32317

United States Trustee
110 E. Park Avenue
Suite 128
Tallahassee, FL 32301



                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969

                                           By: /s/ Nathalie Rodriguez_______________
                                           Nathalie Rodriguez, Esquire
                                           Florida Bar Number: 125114
                                           Email: nrodriguez@rasflaw.com




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           I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

   DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

   COPY OF THE CERTIFICATE OF MERGER, WHICH MERGES:

           "PACIFIC UNION FINANCIAL, LLC", A CALIFORNIA LIMITED

   LIABILITY COMPANY,

           WITH AND INTO "NATIONSTAR MORTGAGE LLC" UNDER THE NAME OF

   “NATIONSTAR MORTGAGE LLC”, A LIMITED LIABILITY COMPANY ORGANIZED

   AND EXISTING UNDER THE LAWS OF THE STATE OF DELAWARE, AS

   RECEIVED AND FILED IN THIS OFFICE ON THE FOURTH DAY OF FEBRUARY,

   A.D. 2019, AT 12:12 O`CLOCK P.M.




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                EXHIBIT “E”
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION
 IN RE:                                              CASE NO.: 18-50307-KKS
                                                                CHAPTER 7
 Roger Allen Mills,
       Debtor.
 _________________________________/

    ORDER GRANTING NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER’s
           MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                   SERVED ON NEGATIVE NOTICE

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a

Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ___). No response

has been filed in accordance with Local Rule 2002-2. Accordingly, it is:


       ORDERED:

   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.

   2. The automatic stay imposed by 11 U.S.C. §§ 362, 1201 and 1301, is terminated as to the
       Secured Creditor’s interest in the following property located at 4021 Osprey Pt Southport,
       Florida 32409 in Bay County, Florida, and legally described as:
       Lot “D”, Osprey Point, as per plat thereof, recorded in Plat Book 13,
       Page 56, of the Public Records of Bay County, Florida.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured

       Creditor to exercise any and all in rem remedies against the property described above.

       Secured Creditor shall not seek an in personam judgment against Debtors.

   4. The Secured Creditor made sufficient allegations and a request in the Motion to waive the

       14-day stay requirement of Bankruptcy Rule 4001(a)(3). No objection being raised, the

       automatic stay shall be lifted immediately upon execution of this order.



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   DONE AND ORDERED on ________________________



                                                            ______________________________
                                                            KAREN K. SPECIE
                                                            U.S. Bankruptcy Judge



Attorney, Nathalie Rodriguez, is directed to serve a copy of this order on interested parties and
file a certificate of service within 3 business days of entry of the order.

Prepared By:
Nathalie Rodriguez
Attorney for Secured Creditor
Robertson, Anschutz & Schneid, PL
6409 Congress Ave., Suite 100
Boca Raton, FL 33487




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